        Case 2:18-cv-00306-RK Document 18 Filed 03/04/19 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GREGORY PEARCE, individually and on
 behalf of all others similarly situated,

                      Plaintiff,
                                                        Case No. l 8-cv-00306
         v.
                                                        Hon. Robert F. Kelly
 MIZUHO BANK, LTD., a Japanese financial
 institution, and MARK KARPELES, an
 individual,

                      Defendants.


       (PROPOSED) ORDER GRANTING PLAINTIFF'S MOTION TO APPROVE
           ALTERNATIVE SERVICE ON DEFENDANT MARK KARPELES

       This matter is before the Court on Plaintiffs Motion to Approve Alternative Service on

Defendant Mark Karpeles pursuant to Rule 4(t)(3) of the Federal Rules of Civil Procedure.

Plaintiff seeks permission to serve Mr. Karpeles via email to his personal email address,

magicaltux@gmail.com, and via delivery to his retained counsel in Greene v. Karpe/es, No. 14-

cv-1437 (N.D. Ill.). Having considered the Motion, Memorandum, and Declaration of Rafey S.

Balabanian, the Court finds that (i) the approval of alternative service in this instance is

appropriate and necessary; (ii) the proposed methods of service are not prohibited by

international agreement; and (iii) the proposed methods of service are reasonably calculated,

under the circumstances, to apprise Mr. Karpeles of the pendency of this action and afford him

an opportunity to present his objections, and therefore comport with due process.

       WHEREFORE, IT IS HEREBY ORDERED THAT Plaintiffs Motion to Approve

Alternative Service on Defendant Mark Karpeles is GRANTED. Plaintiff shall deliver copies

of the complaint and summons on Mr. Karpeles via email at magicaltux@gmail.com and via

delivery to his counsel, Bevin Brennan, at Pedersen & Houpt, 161 North Clark Street, Suite
         Case 2:18-cv-00306-RK Document 18 Filed 03/04/19 Page 2 of 2




2700, Chicago, Illinois 60601. Plaintiff shall thereafter file a notice concerning completion of the

service approved herein on the public docket.


Dated:   :?¥~- If; 2,£?/o/                                ~.e;l~~
                                                             United States District Judge




                                                 2
